       Case 2:12-cv-00859-LMA-MBN Document 1597 Filed 04/12/23 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                     CIVIL ACTION

VERSUS                                                                    NUMBER: 12-859

MARLIN N. GUSMAN, ET AL.                                                  SECTION: “I”(5)

                                       ORDER ON MOTION
                                        APRIL 12, 2023

APPEARANCES:

MOTION:

(1)        Plaintiff Class’ Motion to Enforce Access Provisions of Consent Judgment and
           Stipulated Order (rec. doc. 1585)

           :     Continued to

      __   :     No opposition filed within the time prescribed by Local Rule 7.5.

      1    :     Opposition. (Rec. doc. 1594).

                                           ORDERED

           :     Dismissed as moot.

           :     Dismissed for failure of counsel to appear.

      __   :     Granted.

      1    :     Denied as moot as per record document 1596.

           :     Other.



                                                      MICHAEL B. NORTH
                                                 UNITED STATES MAGISTRATE JUDGE
